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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE I)ISTRICT OF FLORIDA

TAMPA DIVISION
THOl\/IAS ESTRELLA
Plaintiff, CIV[L ACTION
FILE NO.

CLIENT SERVICES, INC.

Defendantv

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, brings this action against Defendant, on the grounds and the

amounts set forth herein.
I. PRELIMINARY STATEMENT

This action arises out of the facts and circumstances surrounding phone calls
made to the Plaintiff. Plaintiff, an individual, institutes this action for actual and
statutory damages against the defendant and the costs of this action against
Defendant for violations of the Telephone Consurner Protection Act (hereinafter
“TCPA”) 27 U.S.C. 227 et seq. and Chapter 559 ofthe Florida Statutes.

Il. PARTIES

l. Plaintiffis a natural person residing in Hillsborough County, Florida.

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2. Defendant is a foreign for profit engaged in consumer debt collections

3. Defendant Was attempting to collect an alleged but unsubstantiated debt
against Plaintiff, which gives rise to this action.

Ill. JURISDICTION AND VENUE

4. Jurisdiction is conferred on this Court by 28 U.S.C. 1331. This court has
supplemental jurisdiction over the state law claim.

5. Venue is this District is proper in that the Defendant transacts business here
and the conduct of underlying the complaint occurred in Hillsborough
County, Florida, which falls under thejurisdiction of the Tampa Division of
the l\/liddle District Court.

IV. STATUTORY STRUCTURE TCPA

6. The Telephone Consumer Protection Act, 47 U.S.C. 227 (“TCPA”) amended
the Federal Communications Act 47 U.S.C. lSl_, et seq. (“FCA”) to address
the uses of automatic telephone dialing systems, artificial or prerecorded
voice messages_, Sl\/IS text messages reviewed by cell phones, and the use of
fax machines to send unsolicited advertisements

7. Under the TCPA “automatic- telephone dialing system” (hereinafter
“ATDS”) means equipment which has the capacity~

(A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and

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(B) to dial such numbers
See, 47 U.S.C. 227 (a`)(l).

8. Under the TCPA, it is unlawful to make any call (otber than a call made for
emergency purposes or made with the prior express consent of the called
party) using any automatic telephone dialing system or an artificial or
prerecorded voice message to any telephone number assigned to a paging
service, cellular telephone service, specialized mobile radio service_, or other
radio common carrier service, or any service for which the called party is
charged for the call.

9. Under the TCPA, a person or entity may, if otherwise permitted by the laws
of the rules of the court of a State, bring in an appropriate court of that State:

(A) an action based on a violation of this subsection or the
regulations prescribed under this subsection to enjoin such
violation,

(B) an action to recover for actual monetary loss from such a
violation, or to receive $500 in damages for each such
violation, whichever is greater, or

(C) both such actions

lf the court finds that the defendant willfully or knowingly violated this subsection

or the regulations prescribed under this subsection, the court may, in its discretion,

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increase the amount of the award to an amount equal to not more than 3 times the
amount available under subparagraph (B) of this paragraph 47 U.S.C. 227 (b)(3).
Under Chapter 559 of the Florida Statutes, Defendant is not permitted to continue
contacting Plaintiff after Defendant has been advised that Plaintiff has legal
representation

V. FACTUAL ALLEGATIONS
10. On September 16, 2013 the Plaintiff’s specifically telling the Defendant that
all future communications MUST be done in writing, thereby revoking any express
consent the Defendant had, if any.
1 l. Around, or before September 16, 2013 the Defendant continued to call the
Plaintiff intentionally, in total disregard of Plaintiffs directive. Defendant
continued contact with Plaintiff has continued through at least January of 20 1 4 and
appears to be ongoing in nature, even though Defendant was additionally warned
by the off1ce of the undersigned on November 12, 2013, in writing and on
November 1 1, 2013 via a faX to “Jessica, Legal Compliance Specialist” at 636-
947-1565.

VI. TCPA VIOLATIONS

12. Plaintiff repeats, re-alleges, and incorporates by reference the foregoing
paragraphs The Defendant’s violations of the TCPA include, but are not limited

to, the following:

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13. The actions of the Defendant individually and collectively violated the TCPA.
14. By the Defendant calling the Plaintiff’ s phone without express consent and in
direct violation of Plaintifl`s instructions, thereby Defendant violated the TCPA.
27 U.S.C. 227

15. By the Defendant calling the Plaintifi`s phone without consent and expressly
against the directive that Plaintiff issued to Defendant, Defendant violated the
TCPA. 27 U.S.C. 227

WH_EREFORE_, Plaintiff prays that judgment be entered against the Defendant

for the following:

(1)Statutory damages pursuant to TCPA 47 U.S.C. 227 (b)(3);

(2) Statutory damages pursuant to TCPA 47 U.S.C. 227 (d)(B);

(3)F air and reasonable costs of this action, court costs and attorney’s fees;

(4) Injunctive relief;

(S)Plaintiff also prays for relief under Chapter 559 of the Florida Statutes,
including but not limited to 559.72 and 559.77 as well as such other and
further relief that the Court deems just and proper.

l hereby swear and affirm that the factual allegations contained herein are

true and accurate.

 

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THOMAS/¢/EST

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